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   8                       UNITED STATES DISTRICT COURT
   9                     CENTRAL DISTRICT OF CALIFORNIA
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  11    FLOYD EUGENE BENDER, JR.,               Case No. 2:21-cv-01418-MWF (MAA)
  12
                          Plaintiff,            JUDGMENT
  13          v.
  14
        LOS ANGELES COUNTY
  15    SHERIFF et al.,
  16
                          Defendants.
  17
  18
             Pursuant to the Order of Dismissal filed herewith,
  19
             IT IS ADJUDGED that the above-captioned case is dismissed without
  20
       prejudice.
  21
  22   DATED: November 30, 2021
  23                                                MICHAEL W. FITZGERALD
                                                UNITED STATES DISTRICT JUDGE
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